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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 IN RE:                                                        CASE NO.: 6:19-bk-03237-CCJ
                                                                               CHAPTER 7
 Jose M. Rodriguez,

       Debtor.
 _________________________________/

     LIMITED OBJECTION TO MOTION TO SELL REAL PROPERTY AND PAY
     SECURED CREDITORS AND TRANSACTIONAL COSTS (1370 Park Avenue)

       COMES      NOW,     WILMINGTON         TRUST      NATIONAL           ASSOCIATION,                 AS
SUCCESSOR TRUSTEE TO CITIBANK, N.A., AS TRUSTEE FOR THE MERRILL LYNCH
MORTGAGE         INVESTORS         TRUST,       MORTGAGE          LOAN            ASSET-BACKED
CERTIFICATES, SERIES 2007-HE2 ("Secured Creditor”), by and through its undersigned
counsel, files its Limited Objection to Motion to Sell Real Property and Pay Secured Creditors
and Transactional Costs (1370 Park Avenue) (“Motion”) (Docket No. 28), and states as follows:
   1. Debtor, Jose M Rodriguez, aka Jose M Rodriguez Quinones, aka Jose Manuel Rodriguez
       (“Debtor”), filed a voluntary petition pursuant to Chapter 7 of the Bankruptcy Code on
       May 15, 2019.
   2. Secured Creditor holds a security interest in the Debtor’s real property located at 1370
       PARK AVE, ORANGE CITY, FL 32763 (the “Property”).
   3. On November 19, 2019, Arvind Mahendru, Chapter 7 Trustee (“Trustee”) filed a Motion

       to Sell Real Property and Pay Secured Creditors and Transactional Costs (1370 Park

       Avenue) requesting approval to sell the property for $280,000.00.




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4. The estimated payoff of Secured Creditor’s lien is $671,200.24 as of November 12, 2019.

   Secured Creditor will provide an updated payoff at or near the scheduled closing of the

   sale.

5. Secured Creditor does not object to the Trustee’s Motion to the extent that any sale is

   subject to Secured Creditor’s lien and that Secured Creditor’s lien will be paid in full at

   the closing of said sale based upon an up to date payoff quote.

6. Secured Creditor objects to any short sale to the extent that any short sale offer must be

   approved in writing and all conditions therein met.

7. Secured Creditor is filing its Response in an abundance of caution, as Secured Creditor

   wants it to be clear that it should not be compelled to participate in a sale of the property

   absent payment in full of Secured Creditor’s mortgage lien on the real property without

   being given the right to credit bid pursuant to 11 U.S.C. § 363(k).

8. Furthermore, Secured Creditor requests that failure to complete any sale within 90-days

   of entry of this Order will result in any Order authorizing the sale to be deemed moot.

9. Secured Creditor reserves the right to supplement this response at or prior to any hearing

   on this matter.




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        WHEREFORE, Secured Creditor respectfully requests the Motion be conditionally

granted, and any order granting the Motion shall include the terms identified herein; and for such

other and further relief as the Court deems just and proper.



                                                 Robertson, Anschutz & Schneid, P.L.
                                                 Attorney for Secured Creditor
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                                                 Boca Raton, FL 33487
                                                 Telephone: 470-321-7112
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                                                 By: /s/April Harriott
                                                 April Harriott, Esquire
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                                                 Email: aharriott@rasflaw.com




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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on December 10, 2019, I caused to be electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
been served via CM/ECF or United States Mail to the following parties:
PRICE LAW FIRM
400 MAITLAND AVENUE
ALTAMONTE SPRINGS, FL 32701

ARVIND MAHENDRU
5703 RED BUG LAKE ROAD
SUITE 284
WINTER SPRINGS, FL 32708

UNITED STATES TRUSTEE - ORL7/13
OFFICE OF THE UNITED STATES TRUSTEE
GEORGE C YOUNG FEDERAL BUILDING 400 WEST WASHINGTON STREET, SUITE
1100
ORLANDO, FL 32801

JOSE M RODRIGUEZ
1370 PARK AVE
ORANGE CITY, FL 32763

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                                           Attorney for Secured Creditor
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